          IN THE UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



MAXWELL KADEL, et al.,

                Plaintiffs,

          v.
                                          No. 1:19-cv-272-LCB-LPA
DALE FOLWELL, et al.,

                Defendants.




     STATE HEALTH PLAN DEFENDANTS’ RESPONSE IN OPPOSITION
      TO PLAINTIFFS’ MOTIONS TO EXCLUDE EXPERT TESTIMONY




                                  -1-


   Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 1 of 37
                                           Table of Contents

I.      Introduction.................................................................................................7

II.     Legal Standard............................................................................................7

III.    Drs. Levine, McHugh, Hruz, Lappert, and Robie are highly
        qualified to testify as experts. ................................................................. 10

        A.       Plaintiffs seek to improperly constrain the scope of
                 “knowledge, skill, experience, training, or education” under
                 Rule 702. ......................................................................................... 10

                 1.       Dr. Levine ............................................................................. 12

                 2.       Dr. McHugh .......................................................................... 13

                 3.       Dr. Hruz................................................................................ 13

                 4.       Dr. Lappert ........................................................................... 14

                 5.       Dr. Robie ............................................................................... 15

        B.       Plaintiffs seek to exclude the challenged experts based on
                 their conclusions rather than their qualifications and
                 methodology. .................................................................................. 16

IV.     The testimony of Drs. Robie, Hruz, McHugh, Lappert, and Levine
        speaks directly to dispositive factual questions. .................................... 17

        A.       The challenged experts address the medical necessity of
                 Plaintiffs’ desired treatments........................................................ 17

        B.       The challenged experts address the motives for the Plan
                 Defendants’ coverage decisions. .................................................... 18

V.      Plaintiffs’ challenges to the reliability of Drs. Robie, Hruz,
        McHugh, Lappert, and Levine are irrelevant and misleading. ............ 19

        A.       The validity of and scientific basis for the WPATH Standards
                 are matters of considerable dispute that must be resolved by
                 the trier of fact. .............................................................................. 19



                                                       -2-


       Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 2 of 37
       B.    The scientific justification for Plaintiffs’ desired medical
             treatments has collapsed in the past three years. ....................... 22

       C.    Plaintiffs’ motions erroneously assume that gaps in scientific
             knowledge are a basis to exclude the Plan Defendants’
             experts. ........................................................................................... 27

             1.       Dr. McHugh .......................................................................... 28

             2.       Dr. Levine ............................................................................. 31

             3.       Dr. Hruz................................................................................ 32

             4.       Dr. Lappert ........................................................................... 34

             5.       Dr. Robie ............................................................................... 34

VI.    Conclusion ……………………………………………………………..………35




                                                    -3-


      Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 3 of 37
                                        Table of Authorities


        Cases

Belk, Inc. v. Meyer Corp., U.S.,
  679 F.3d 146 (4th Cir. 2012) ............................................................................ 9

Benedi v. McNeil-P.P.C., Inc.,
  66 F.3d 1378 (4th Cir. 1995) ............................................................................ 9

Brandt v. Rutledge,
  2021 WL 3292057 (E.D. Ark. Aug. 2, 2021) .................................................. 23

Cavallo v. Star Enter.,
 100 F.3d 1150 (4th Cir. 1996) ........................................................................ 10

Cooper v. Laboratory Corp. of America Holdings, Inc.,
  150 F.3d 376 (4th Cir. 1998) .................................................................... 10, 12

Cruzan v. Dir., Mo. Dep’t of Health,
  497 U.S. 261 (1990) ........................................................................................ 29

Daubert v. Merrell Dow Pharms., Inc.,
 509 U.S. 579, 589 (1993) .........................................................................passim

Foard v. Jarman,
  387 S.E.2d 162 (N.C. 1990) ............................................................................ 29

Frye v. United States, 293 F. 1013 (D.C. Cir. 1923) ........................................... 9

Grimm v. Gloucester County School Board.
  972 F.3d 586 (4th Cir. 2020) .......................................................................... 22

Hennessy-Waller v. Snyder,
 529 F.Supp.3d 1031 (D. Ariz. 2021) .............................................................. 25

Kopf v. Skyrm,
  993 F.2d 374 (4th Cir. 1993) .......................................................................... 10

Krakauer v. Dish Network, L.L.C., No. 1:14-CV-333, 2015 WL 5227693, at *5
  (M.D.N.C. Sept. 8, 2015) ................................................................................ 30




                                                     -4-


      Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 4 of 37
Kumho Tire Co. v. Carmichael,
 526 U.S. 137 (1999) ........................................................................................ 10

Lebron v. Sec. of Fla. Dept. of Children and Families,
  772 F.3d 1352 (11th Cir. 2014) ...................................................................... 13

Lipitor (Atorvastatin Calcium) Mktg., Sales Practices & Prod. Liab. Litig.
  (No. II),
  892 F.3d 624 (4th Cir. 2018) .......................................................................... 11

Martinez v. Sakurai Graphic Sys. Corp.,
 2007 WL 2570362 at *2 (N.D. Ill. Aug. 30, 2007) ......................................... 13

Nease v. Ford Motor Co.,
 848 F.3d 219 (4th Cir. 2017) .......................................................................... 10

O’Conner v. Commonwealth Edison Co.,
  807 F.Supp. 1376 (C.D. Ill. 1992) .................................................................. 13

Smith v. Wyeth-Ayerst Laboratories Co.,
 278 F.Supp.2d 684, (W.D.N.C. Apr. 17, 2003) .............................................. 11

Spector v. United States,
  193 F.2d 1002 (9th Cir. 1952) ........................................................................ 22

United States v. Benkahla,
 530 F.3d 300 (4th Cir. 2008) ..................................................................... 11,20

United States v. Wilson,
 484 F.3d 267 (4th Cir. 2007) .......................................................................... 11

United States v. Young,
 916 F.3d 368 (4th Cir. 2019) ................................................................... 10, 12

Westberry v. Gislaved Gummi AB,
 178 F.3d 257 (4th Cir. 1999) .......................................................................... 10




                                                     -5-


      Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 5 of 37
         Other Authorities

Agnes Wold, Gender-Corrective Surgery Promoting Mental Health in Persons
  With Gender Dysphoria Not Supported by Data Presented in Article, AM. J.
  OF PSYCHIATRY 177(8), 768 (2020) ................................................................. 26

Bryan A. Garner, et al, THE LAW OF JUDICIAL PRECEDENT 382 (2016) .......... 21

Cecilia Dhejne, et al., Long-term follow-up of transsexual persons undergoing
  sex reassignment surgery: cohort study in Sweden, PLOS ONE 2011 6(2):
  e16885 (2011) .................................................................................................. 25

Elizabeth Hisle-Gorman, et al., Mental Healthcare Utilization of Transgender
  Youth Before and After Affirming Treatment, J. OF SEX. MED. 18, 1444−54
  (2021) ........................................................................................................ 26, 27

Haupt, C., Henke, M. et. al., Cochrane Database of Systematic Reviews
 Review - Intervention, Antiandrogen or estradiol treatment or both during
 hormone therapy in transitioning transgender women, 28 November 2020 27

Ned H. Kalin, M.D., Reassessing Mental Health Treatment Utilization
 Reduction in Transgender Individuals After Gender-Affirming Surgeries: A
 Comment by the Editor on the Process, AM. J. OF PSYCHIATRY 177(8), 764
 (2020) .............................................................................................................. 26

Richard Branstrom & John E. Pachankis, Reduction in Mental Health
  Treatment Utilization Among Transgender Individuals After Gender-
  Affirming Surgeries: A Total Population Study, AM. J. OF PSYCHIATRY
  177(8), 727-34 (2019) ................................................................................ 26, 27

         Rules

Rule 702 of the Federal Rules of Evidence ................................................passim

         Regulations

85 Fed. Reg. 37187 (June 19, 2020) .................................................................. 22




                                                         -6-


       Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 6 of 37
I.     Introduction

       The State Health Plan, Dale Folwell, and Dee Jones (“Plan Defendants”),

hereby provide this single Response in Opposition to Plaintiffs’ multiple

motions to Exclude expert testimony from Dr. Peter Robie, Dr. Paul W. Hruz,

Dr. Paul R. McHugh, Dr. Patrick W. Lappert, and Dr. Stephen B. Levine. Docs.

202-09, 212-13.

       Plaintiffs assert these doctors are not qualified to testify as experts; that

their testimony is “irrelevant;” and/or that portions of their testimony would

be “unreliable” or “patently false.” See, e.g., Doc. 205 at 4-23. In fact, these

individuals are highly respected medical professionals with publications and

practice experience in relevant fields.       Plaintiffs’ attempt to dismiss their

qualifications—on the basis of ideological disagreement—misses the mark.

Furthermore, opinions regarding the efficacy of certain medical treatments are

directly relevant to the Plaintiffs’ allegations of discrimination. Plaintiffs’

criticism of these opinions’ relevance and reliability not only misconstrues the

facts but also seeks to usurp the role of the factfinder in weighing the

importance and accuracy of those facts. The Plan Defendants ask this Court

to deny the Plaintiffs’ Motions to Exclude Expert Testimony.

II.    Legal Standard

       Rule 702 of the Federal Rules of Evidence provides that “[i]f scientific,

technical, or other specialized knowledge will assist the trier of fact to


                                        -7-


      Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 7 of 37
understand the evidence or to determine a fact in issue, a witness qualified as

an expert by knowledge, skill, experience, training, or education, may testify

thereto in the form of an opinion or otherwise.”       Fed. R. Evid. 702.   The

Supreme Court has held that this requires the district court to determine that

“any and all scientific testimony or evidence admitted is not only relevant, but

reliable.” Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 589 (1993); see

Benedi v. McNeil-P.P.C., Inc., 66 F.3d 1378, 1383 (4th Cir. 1995) (Daubert and

Fed. R. Evid. 702 superseded Frye v. United States, 293 F. 1013 (D.C.

Cir. 1923).).

      At the outset, the district court must consider the expert’s qualifications

to offer testimony, including his professional record and “full range of

experience and training.” Belk, Inc. v. Meyer Corp., 679 F.3d 146, 162 (4th

Cir. 2012). But expert testimony may rest on knowledge, skill, experience,

training, or education. “These are disjunctive; an expert can qualify to testify

on any one of the grounds.” Cooper v. Laboratory Corp. of America Holdings,

150 F.3d 376, 380 (4th Cir. 1998) (citing Kopf v. Skyrm, 993 F.2d 374, 377 (4th

Cir. 1993). As a result, “although publishing in a peer-reviewed publication is

often a hallmark of expert witness reliability, that hallmark is a guidepost, not

a mandatory prerequisite to qualification as an expert.”        U.S. v. Young,

916 F.3d 368, 381 (4th Cir. 2019) (citing Nease v. Ford Motor Co., 848 F.3d 219,

229 (4th Cir. 2017)).

                                      -8-


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 8 of 37
      In assessing reliability, the district court may consider (1) whether the

expert’s reasoning can be tested, (2) whether the expert’s reasoning is subject

to peer review and publications, (3) the rate of error, and (4) the level of

acceptance of the expert’s reasoning in the relevant professional community.

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 149-50 (1999); see Daubert,

509 U.S. at 593-94. However, the court has “broad latitude” to determine

whether these factors are “reasonable measures of reliability in a particular

case.” Kumho, 526 U.S. at 153. The Fourth Circuit has emphasized that

Rule 702 liberalizes the presentation of relevant expert testimony, so the

reliability analysis need not determine the expert testimony is irrefutable or

certainly correct. Westberry v. Gislaved Gummi AB, 178 F.3d 257, 261 (4th

Cir. 1999). Instead, when expert testimony relies on experiential qualification,

the court should consider “how [the expert’s] experience leads to the conclusion

reached, why [the expert’s] experience is a sufficient basis for the opinion, and

how [the expert’s] experience is reliably applied to the facts.” U.S. v. Wilson,

484 F.3d 267, 274 (4th Cir. 2007).

      Under Rule 702, expert testimony is relevant if it has “a valid scientific

connection to the pertinent inquiry” and helps “the trier of fact to understand

the evidence or to determine a fact in issue.”    Daubert, 509 U.S. at 591-92.

The Fourth Circuit has held that in a case where evidence is “complicated,

touching by necessity on a wide variety of ideas, terms, people, and

                                      -9-


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 9 of 37
organizations connected to” the topic at hand, expert testimony is relevant to

help the factfinder understand evidence related to the motives of the relevant

actors. U.S. v. Benkahla, 530 F.3d 300, 309 (4th Cir. 2008).

        Significantly, the Supreme Court has instructed district courts, “as

gatekeeper, [to] conduct[ ] a flexible inquiry, focusing on the principles and

methodology employed by the expert rather than the conclusions reached.”

Smith v. Wyeth-Ayerst Laboratories Co., 278 F.Supp.2d 684, 690 (W.D.N.C.

Apr. 17, 2003) (citing Daubert, 509 U.S. at 594-95). After all, a district court’s

gatekeeping role “is not intended to serve as a replacement for the adversary

system, and consequently, the rejection of expert testimony is the exception

rather than the rule.” In re Lipitor Mktg., 892 F.3d 624, 631 (4th Cir. 2018).

III.    Drs. Levine, McHugh, Hruz, Lappert, and Robie are highly
        qualified to testify as experts.

   A. Plaintiffs seek to improperly constrain the scope of “knowledge,
      skill, experience, training, or education” under Rule 702.

        Plaintiffs assert that the challenged experts lack the requisite

“knowledge, skill, experience, training, or education,” making their testimony

inherently unreliable. Doc. 203 at 8; Doc. 207 at 6; Doc. 213 at 22. Plaintiffs’

claim relies on their view that these experts have limited experience with

providing direct medical treatment to transgender patients and publishing

“original or peer-reviewed research about gender identity, transgender people,




                                      - 10 -


       Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 10 of 37
or gender dysphoria.” Doc. 207 at 6; see generally Doc. 203 at 8-10, Doc. 205

at 5-8, Doc. 209 at 6-8, Doc. 213 at 20-22.

        But this assertion directly contradicts the Fourth Circuit’s analysis for

expert qualification.    An expert’s research work is straightforwardly not

dispositive: “although publishing in a peer-reviewed publication is often a

hallmark of expert witness reliability, that hallmark is a guidepost, not a

mandatory prerequisite to qualification as an expert.” Young, 916 F.3d at 381.

Similarly, by focusing only on “experience” and “training,” Plaintiffs ignore the

Fourth Circuit’s instructions that “an expert can qualify to testify on any one

of the grounds.”      Cooper, 150 F.3d at 380 (emphasis added).       Here, the

challenged experts’ knowledge, skill, and education—as summarized below—

are more than adequate to establish specialized knowledge of the matters at

hand.

        Furthermore, Plaintiffs rely heavily on the purported principle that “an

expert’s qualifications must be within the same technical area as the subject

matter of the expert’s testimony,” citing two federal district court decisions

from Illinois and a single holding from a different court of appeals. Martinez

v. Sakurai Graphic Sys. Corp., 2007 WL 2570362 at *2 (N.D. Ill. Aug. 30,

2007); see also O’Conner v. Commonwealth Edison, 807 F.Supp. 1376 (C.D.

Ill. 1992); Lebron v. Sec. of Fla. Dept. of Children and Families, 772 F.3d 1352

(11th Cir. 2014). These cases are non-binding, of course, but Plaintiffs also

                                      - 11 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 11 of 37
apply them in a misleading way. In claiming the challenged experts are not

qualified simply because they have not performed narrowly-defined medical

procedures or published in specific journals, Plaintiffs artificially constrain the

“technical area” of the substantive issues at hand.

      Instead, consistent with the inclusive approach mandated by Rule 702,

this Court should recognize that a multitude of medical specialties—including,

but not limited to, endocrinology, psychiatry, and plastic surgery—relate to the

treatment of transgender individuals. Under this view, the challenged experts

clearly have an extensive substantive basis to offer opinions on the relevant

factual disputes, as summarized in the following subsections.

      1.    Dr. Levine

      Dr. Levine is a licensed physician and, currently, Clinical Professor of

Psychiatry at Case Western Reserve University School of Medicine. Dr. Levine

maintains an active private clinical practice, and he specializes in treatment

of sexual identity issues, sexual problems, and the relationship between love,

intimacy, and mental health. Dr. Levine first encountered a patient with

gender dysphoria in July 1973, and he founded the Case Western Reserve

University Gender Identity Clinic in 1974. He still serves as Co-Director of

that clinic, having evaluated and treated hundreds of patients with

transgender identities.    Dr. Levine was an early member of the Harry

Benjamin International Gender Dysphoria Association (now known as


                                      - 12 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 12 of 37
WPATH) and served as Chairman of the WPATH committee that developed

the fifth edition of the Standards of Care. Dr. Levine is a Distinguished Life

Fellow of the American Psychiatric Association and has lectured frequently to

professional groups on transgender identity and other issues related to human

sexuality. Exhibit 1, Declaration of Dr. Levine.

      2.    Dr. McHugh

      Dr. McHugh is a licensed psychiatrist and tenured professor at the Johns

Hopkins University School of Medicine.        Dr McHugh was Chairman of

Psychiatry at Johns Hopkins Medical School and psychiatrist in chief at the

JH Hospitals for 30 years. Dr McHugh also served as the Chairman of the

Medical Board of the entire Johns Hopkins University Hospital.          He has

published many peer-reviewed articles, books, and chapters in relevant areas

including diagnosis, treatment efficacy, and the history of methodological

errors in psychiatry. Dr. McHugh was elected to the Institute of Medicine of

the National Academies of Science in 1992.            Dr. McHugh is also a

Distinguished Life Fellow of the American Psychiatric Association. Exhibit 2,

Declaration of Dr. McHugh.

      3.    Dr. Hruz

      Dr. Hruz is an M.D./Ph.D specialist in pediatric endocrinology at

Washington University School of Medicine in St. Louis, Missouri where he also

serves as Associate Professor of Cellular Biology and Physiology in the Division


                                     - 13 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 13 of 37
of Biology and Biological Sciences. At this institution, Dr. Hruz served as Chief

of the Division of Pediatric Endocrinology and Diabetes from 2012 to 2017 and

as Director of the Pediatric Endocrinology Fellowship Program from 2008 to

2016. Dr. Hruz has published sixty scholarly articles over his academic career,

including peer-reviewed articles in leading journals on metabolism, cardiology,

HIV, and ethics. Dr. Hruz has participated in the care of hundreds of infants

and children, including adolescents, with disorders of sexual development, and

he was a founding member of the school’s multidisciplinary Disorders of Sexual

Development program.       Dr. Hruz has extensively studied the scientific

literature related to the incidence, potential etiology, and treatment of gender

dysphoria. Exhibit 3, Declaration of Dr. Hruz.

      4.    Dr. Lappert

      Dr. Lappert is a licensed physician and, until his recent retirement from

surgical practice, a board-certified plastic and reconstructive surgeon. Dr.

Lappert has broad experience through his twenty-year career as a flight

surgeon with the United States Navy. While serving in uniform, Dr. Lappert

was Chairman of the Department of Plastic and Reconstructive Surgery at the

Naval Hospital in Portsmouth, Virginia, and Specialty Leader for Plastic and

Reconstructive Surgery for the Surgeon General of the Navy. As a physician

and surgeon, Dr. Lappert has treated thousands of patients in seven states and

four foreign countries.     He has personal experience with the surgical


                                     - 14 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 14 of 37
procedures performed as part of sex reassignment surgery, although he

performed these surgeries for other purposes (such as reconstruction of the

genitals after cancer) rather than for treatment of gender dysphoria. Exhibit

4, Declaration of Dr. Lappert.

      5.     Dr. Robie

      Dr. Robie is a licensed primary care physician with more than forty-

seven years of clinical experience. Dr. Robie has served as Assistant Professor

and Clinical Associate Professor at the Department of Internal Medicine for

the Wake Forest School of Medicine since 1981. Exhibit 5, Disclosure of Dr.

Robie.

      Unlike the other experts for Plan Defendants, Dr. Robie does not seek to

provide testimony on the efficacy of gender dysphoria treatment or the lack

thereof. As a member of the Plan’s Board of Trustees, and as a physician, Dr.

Robie has contributed his medical knowledge to Board deliberations. Dr. Robie

will testify to the medical knowledge he shared with other Board members. In

addition, as an expert in the diagnostic process, he will testify that physicians

must know the biological sex of patients to provide competent medical care.

Exhibit 5.




                                     - 15 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 15 of 37
   B. Plaintiffs seek to exclude the challenged experts based on their
      conclusions rather than their qualifications and methodology.

      Tellingly, Plaintiffs repeatedly suggest that the challenged experts are

not qualified to testify because of their unfamiliarity or disagreement with the

World Professional Association for Transgender Health’s (“WPATH”)

standards of care for transgender individuals. Doc. 203 at 8-9, Doc. 205 at 13-

14, Doc. 207 at 6-7, Doc. 209 at 14-15.        If adopted, this principle would

systematically exclude any testimony presenting an opinion that diverges from

Plaintiffs’ desired conclusions. For example, if an expert may not testify unless

he or she has provided “gender-affirming surgery,” then no expert with

reservations about such procedures could ever be heard by this Court. Under

Plaintiffs’ approach, Rule 702 analysis would ask not whether the expert

evidence would “assist the trier of fact to understand the evidence or to

determine a fact in issue,” but instead whether it would help the jury to adopt

Plaintiffs’ understanding of that fact.

      This self-serving approach misunderstands the function of Rule 702 and

the role of expert testimony.    For the reasons outlined below, the lack of

consensus among the medical community will play an important role in the

factual resolution of Plaintiffs’ equal protection claims. Plaintiffs observe this

lack of consensus and conclude that any disagreement with their view of

transgender medical treatment is inherently unreliable.           But the very



                                      - 16 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 16 of 37
existence of such disagreement highlights the need for the jury to consider the

different expert perspectives in its assessment of the motives for Plan

Defendants’ coverage decisions.

IV.    The testimony of Drs. Robie, Hruz, McHugh, Lappert, and Levine
       speaks directly to dispositive factual questions.

   A. The challenged experts address the medical necessity of
      Plaintiffs’ desired treatments.

       Plaintiffs argue that their enrollment in the State Health Plan entitles

them to coverage for all “medically necessary pharmacy benefits, mental health

benefits, and medical care such as surgical benefits.” Doc. 75 at 15. This is a

faulty assumption, because medical necessity informs, but does not dictate, the

Plan’s coverage decisions. See Doc. 197 at 31-34. Regardless, Plaintiffs seek

damages and injunctive relief for the denial of “medically necessary hormone

therapy or gender-confirming surgical care,” Doc. 75 at 21, and “medically

necessary surgery,” id. at 26. Plaintiffs assert “that gender-confirming health

care can be medically necessary and even life-saving,” id. at 2, to support their

conclusion that the Plan discriminates by “categorically excluding all coverage

for [this] medically necessary” treatment, id. at 37.

       Accordingly, the medical necessity of Plaintiffs’ desired treatments is a

factual question at the core of their requests for relief. If Plaintiffs argue that

the Plan necessarily discriminates by excluding coverage for “medically

necessary” care, they must establish that the specific surgery and hormone


                                      - 17 -


      Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 17 of 37
therapy they seek is medically necessary. Sweeping assertions about the “life-

saving” value of these treatments, and conclusory reliance on the WPATH

standards (which are now 10 years old and increasingly controversial), present

only one perspective on this factual question, which the factfinder need not

necessarily credit.   The challenged expert testimony provides scientific

information that will be essential to the jury’s ultimate determination whether

the Plaintiffs’ desired treatments are “medically necessary.”     Thus, these

experts will help “the trier of fact to understand the evidence or to determine

a fact in issue,” and their testimony is relevant and admissible pursuant to

Rule 702 and Daubert, 509 U.S. at 591-92.

   B. The challenged experts address the motives for the Plan
      Defendants’ coverage decisions.

      Plaintiffs seek to establish discrimination by claiming that “denying

coverage for such health care necessarily discriminates against transgender

people.” Doc. 75 at 15. Plaintiffs also allege, however, that “NCSHP’s actual

motivations matter to the analysis” and present Plan policy documents and

public statements. Doc. 179 at 26. In particular, Treasurer Folwell’s most

prominent statement regarding the Plan’s coverage decision specifically points

to “the legal and medical uncertainty of this elective, non-emergency

procedure.” Exhibit 6, Statement of the Treasurer. Accordingly, Plaintiffs’

discrimination claims hinge in large part on whether this statement is



                                    - 18 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 18 of 37
accurate.    If there is “medical uncertainty” regarding Plaintiffs’ desired

procedures, then the Plan has presented a compelling alternative explanation

to Plaintiffs’ allegations of discrimination. The Fourth Circuit has held that

expert testimony is relevant when it helps the jury to understand motive in

scenarios with complex competing factors. Benkahla, 530 F.3d at 309. That is

the case here.

V.     Plaintiffs’ challenges to the reliability of Drs. Robie, Hruz,
       McHugh, Lappert, and Levine are irrelevant and misleading.

     A. The validity of and scientific basis for the WPATH Standards are
        matters of considerable dispute that must be resolved by the trier
        of fact.

       Throughout their filings, Plaintiffs rely extensively upon the WPATH

standards referenced above. See, e.g., Doc. 213 at 9-10, 12-13. This reliance

highlights a fundamental error in their motions to exclude expert testimony.

       As noted by Dr. Levine, who was one of the early members of the

organization now called WPATH, “[m]ost psychiatrists and psychologists who

treat patients suffering sufficiently severe distress from gender dysphoria to

seek inpatient psychiatric care are not members of WPATH” and “[m]any

psychiatrists and psychologists who treat some patients suffering gender

dysphoria on an outpatient basis are not members of WPATH.” Ex. 1 at 38.

“WPATH represents a self-selected subset of the profession along with its

many non-professional members; it does not capture the clinical experiences of



                                    - 19 -


     Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 19 of 37
others. WPATH claims to speak for the medical profession; however, it does

not welcome skepticism nor competent scientific debate and analysis and

therefore, deviates from the philosophical core of medical science.” Id. at 38-39.

Put another way, the WPATH guidelines are not “the product of reliable

principles and methods.” Fed. R. Evid. 702(c). WPATH does not qualify as a

scientific organization because it allows participation by lay members.

Furthermore, the WPATH guidelines are adopted by a voting process, rather

than a peer review process, and they do not follow the national guidelines

intended to prevent adoption of standards that are tainted by financial

conflicts of interest.

      In response, Plaintiffs argue that this Court is required to defer to the

WPATH guidelines, and accept their validity, as a matter of law. To support

this, they most directly rely on Grimm v. Gloucester County School Board.

972 F.3d 586 (4th Cir. 2020). The panel opinion in Grimm states the WPATH

standards “represent the consensus approach of the medical and mental health

community” and “have been recognized by various courts, including this one,

as the authoritative standards of care.” Id. at 595.

      These statements have no permissible effect, legal or otherwise, on the

evidence before the Court in this proceeding. “Precedents wield authority and

power only to the extent that they establish or reinforce a legal rule or

principle.” Bryan A. Garner, et al, THE LAW OF JUDICIAL PRECEDENT 382

                                      - 20 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 20 of 37
(2016) (emphasis added). It is “clear error” to hold that “stare decisis or res

judicata makes a finding of fact applicable to persons not parties to the action

in which the finding is made.” Spector v. United States, 193 F.2d 1002, 1006

(9th Cir. 1952). Grimm, like the other cases Plaintiffs cite, involved factual

conclusions. For example, Grimm relied upon an amicus brief submitted by

medical experts, 972 F.3d at 596; this brief, and any factual evidence in that

brief, is not before this Court. See also Doc. 205 at 18 (citing to opinion on

preliminary injunction in Brandt v. Rutledge, 2021 WL 3292057 (E.D. Ark.

Aug. 2, 2021)).

      More fundamentally, this approach to factual questions is antithetical to

the Court’s gatekeeping role under Daubert. Science should be expected to

develop over time.     Dr. Levine, one of the Plan Defendants’ experts,

summarized as follows:

            And I just need to tell you that one of the great
            advantages of being a professional is that one spends
            one’s life learning and evolving and changing. And the
            fact that five years ago or ten years ago, I thought this
            and today I think this, it may be a problem in the legal
            profession, but it’s not a problem in the medical
            profession. We expect doctor’s concepts to evolve with
            clinical experience in advance of science.

Exhibit 7, Deposition of Dr. Levine at 188:21-189:5.            When the U.S.

Department of Health and Human Services considered the medical science

underlying the treatment of gender dysphoria in 2020, the agency found “there



                                     - 21 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 21 of 37
is, at a minimum, a lack of scientific and medical consensus” to support HHS’s

earlier conclusion that the effectiveness of hormone and surgical treatment for

gender dysphoria was generally accepted. 85 Fed. Reg. 37187 (June 19, 2020).

      Plaintiffs ask this Court to prejudge the scientific evidence by finding

that the Plan Defendants’ experts in psychiatry (Drs. Levine and McHugh),

endocrinology (Dr. Hruz), and surgery (Dr. Lappert) are not qualified to testify

about the methodological flaws and errors in the science and ethics of

transitioning treatments because they themselves do not perform these

experimental treatments on vulnerable patients. This Court cannot exclude

the Plan Defendants’ experts for failure to endorse or practice according to the

WPATH guidelines when those guidelines lack scientific reliability, validity,

and provide no reliable error rates for safety or efficacy.

   B. The scientific justification for Plaintiffs’ desired medical
      treatments has collapsed in the past three years.

      As an initial matter, Plaintiffs misunderstand their burden of proof. The

Plan Defendants have been clear and consistent in their explanation for Plan’s

decision.   Treasurer Folwell stated in 2018 that “[t]he legal and medical

uncertainty of this elective, non-emergency procedure has never been greater.”

Ex. 6. See also Doc. 75 at ¶ 62.

      Plaintiffs argue that the Plan’s failure to cover hormone prescriptions

and surgical procedures for treatment of gender dysphoria violates the Equal



                                      - 22 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 22 of 37
Protection Clause. They argue that the Plan’s coverage scheme is inherently

discriminatory because the Plan covers certain prescriptions and surgeries

(such as mastectomies and breast reconstruction for individuals with cancer)

but does not cover the same procedures for treatment of gender dysphoria.

Doc. 179 at 21.

      To prevail on an equal protection claim, however, Plaintiffs must also

establish that the Plan Defendants have denied a benefit of value.           As

discussed above, this requires Plaintiffs to demonstrate not only that these

denied treatments are medically necessary for them, but also that the

treatments are “safe and effective for correcting or ameliorating their gender

dysphoria.” Hennessy-Waller v. Snyder, 529 F.Supp.3d 1031, 1042 (D. Ariz.

2021) (failure to prove reassignment surgery would be effective in treating

gender dysphoria justified denial of motion for preliminary injunction).

Unfortunately, the most recent scientific literature—peer-reviewed articles

published in respected medical journals—has failed to demonstrate that

hormonal and surgical treatments actually improve outcomes for patients

suffering from gender dysphoria.

      The importance of scientific research can be seen in one specific finding,

noted by transgender advocates as well as Plan Defendants’ experts:

transgender individuals have high levels of psychiatric morbidity, suicidal acts

and completed suicide many years after medical transition. Cecilia Dhejne, et

                                     - 23 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 23 of 37
al., Long-term follow-up of transsexual persons undergoing sex reassignment

surgery: cohort study in Sweden, PLOS ONE 2011 6(2): e16885 (2011). Long-

term follow up of patients with gender dysphoria who have undergone social

and hormonal transition with or without surgical intervention has shown

persistent psychological morbidity far above non-transgendered individuals,

with suicide attempts seven times and completed suicides nineteen times

above the general population even after transition interventions. Id. See Ex.

1 at 66-67 (citing Dhejne).

      Some advocates argue that these terrible health outcomes indicate the

need for the hormonal and surgical interventions that the Plaintiffs seek, but

“no reliable-valid scientific studies show that affirmation of children (or anyone

else) reduces suicide, prevents suicidal ideation, or improves long-term

outcomes, as compared to either a “watchful waiting” or a psychotherapeutic

model of response.” Ex. 1 at 67. Theories that treatment for gender dysphoria

will reduce suicidality are, at this point, only theories. Based on the current

state of the science, it is equally possible that the treatments sought by

Plaintiffs will create further psychological harm in some patients. No one

knows.

      In October 2019, the American Journal of Psychiatry published a 10-year

follow-up study of thousands of Swedish patients diagnosed with gender

dysphoria. Richard Branstrom & John E. Pachankis, Reduction in Mental

                                      - 24 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 24 of 37
Health Treatment Utilization Among Transgender Individuals After Gender-

Affirming Surgeries: A Total Population Study, AM. J. OF PSYCHIATRY 177(8),

727-34 (2019). Critiques of the article led to a third-party review of its

methodology and its correction. The final conclusions, agreed to by the authors

and international methodological experts, documented zero benefits to

hormone and surgical treatment. Ned H. Kalin, M.D., Reassessing Mental

Health Treatment Utilization Reduction in Transgender Individuals After

Gender-Affirming Surgeries: A Comment by the Editor on the Process, AM. J.

OF   PSYCHIATRY 177(8), 764 (2020). Indeed, the raw number of suicides and

hospitalizations for mental illness actually increased for transgender patients

who underwent transitioning treatments.       Agnes Wold, Gender-Corrective

Surgery Promoting Mental Health in Persons With Gender Dysphoria Not

Supported by Data Presented in Article, AM. J. OF PSYCHIATRY 177(8), 768

(2020) (noting the data shows “the risk of being hospitalized for a suicide

attempt was 2.4 times higher if [the patient] had undergone gender-corrective

surgery than if they had not,” although the data set was not large enough to

establish a causal relationship).

       The findings in the Branstrom article were confirmed in 2021 by a study

conducted in the United States.      Elizabeth Hisle-Gorman, et al., Mental

Healthcare Utilization of Transgender Youth Before and After Affirming

Treatment, J. OF SEX. MED. 18, 1444−54 (2021).     Like the Branstrom study,

                                     - 25 -


     Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 25 of 37
the Hisle-Gorman article documented no benefits to gender transition

treatments for hundreds of patients followed over many years. “Among 963

transgender     and     gender-diverse        youth   using    gender-affirming

pharmaceuticals, mental healthcare did not significantly change and

psychotropic (psychiatric) medications increased following gender-affirming

pharmaceutical initiation.” Id.

      The integrity of the legal process requires that experts be able to discuss

and explain these scientific controversies to the jury. If the Plan Defendants’

experts are excluded, Plaintiffs will do what their experts did in their reports:

ignore the Branstrom findings and the multiple articles that reach similar

conclusions. See, e.g., Haupt, C., Henke, M. et. al., Cochrane Database of

Systematic Reviews Review - Intervention, Antiandrogen or estradiol treatment

or both during hormone therapy in transitioning transgender women, 28

November 2020 (finding “insufficient evidence to determine the efficacy or

safety of hormonal treatment approaches for transgender women in

transition”).

      The scientific controversy over the efficacy of hormonal and surgical

treatment for gender dysphoria is particularly significant in this case because

it undermines the ethical basis for these treatments. The “notion of bodily

integrity has been embodied in the requirement that informed consent is

generally required for medical treatment.” Cruzan v. Dir., Mo. Dep’t of Health,

                                     - 26 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 26 of 37
497 U.S. 261, 269 (1990). Informed consent requires the health care provider

to “provide the patient with sufficient information about the proposed

treatment and its attendant risks to conform to the customary practice of

members of the same profession with similar training and experience situated

in the same or similar communities.” Foard v. Jarman, 387 S.E.2d 162, 164

(N.C. 1990). A “reasonable person” must have a “general understanding of

both the treatment or procedure and the usual and most frequent risks and

hazards” associated with it. Id.

      When the risks and benefits of medical treatment are unknown, the

treatment is experimental. This does not mean that the procedures or

treatments should be prohibited, and the Plaintiffs have not—and cannot—

show that the Plan has prohibited anything. The only decision made by the

Plan is that it will pay for other treatments, such as counseling, but not the

treatments that Plaintiffs desire.

   C. Plaintiffs’ motions erroneously assume that gaps in scientific
      knowledge and differing conclusions are a basis to exclude the
      Plan Defendants’ experts.

      For each of the Plan Defendants’ experts, Plaintiffs seek to identify

inconsistencies, other courts that have not agreed with the expert’s testimony,

or particular conclusions with which Plaintiffs disagree.      These are not

appropriate bases to exclude expert testimony, particularly without testimony

or cross-examination in a formal Daubert hearing.


                                     - 27 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 27 of 37
      The Plaintiffs misunderstand the purpose of Daubert review. “Whether

expert evidence is reliable [and therefore admissible] is primarily a question of

the validity of the expert’s methodology, not the quality of the data used or the

conclusions produced.” Krakauer v. Dish Network, L.L.C., No. 1:14-cv-333,

2015 WL 5227693, at *5 (M.D.N.C. Sept. 8, 2015) (emphasis added). The Plan

Defendants’ conclusions are carefully explained and cited to peer-reviewed

articles in extensive reports. None of them should be excluded.

      1.    Dr. McHugh

      Dr. McHugh’s expert testimony will expand on the research he has done

for more than fifty (50) years to bring medical science—the testing of

hypotheses based on biological processes—to the field of psychiatry. Plaintiffs

argue that they are entitled to specific procedures to treat their psychiatric

diagnoses of gender dysphoria. Dr. McHugh will explain precisely what such

a diagnosis means, how the diagnostic categories are created, and why these

categories can operate to create harm and prevent thoughtful scientific

research. Dr. McHugh offers testimony to help the factfinder understand how

the scientific method is applied to research the best treatment for psychiatric

illnesses, to provide a framework for the factfinder to understand precisely why

the medical treatments for gender dysphoria remain medically uncertain.

      Dr. McHugh has testified previously that the Diagnostic and Statistical

Manual of Mental Disorders of the American Psychiatric Association (DSM) is


                                     - 28 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 28 of 37
“essentially a dictionary based on consensus-seeking voting methodologies

rather than evidence-seeking scientific methodologies.”     Ex. 2 at 6-7.    The

DSM is, scientifically, similar to a field guide used by amateur birders to

identify birds. Id. “It is important for legal professionals to understand that

the DSM was created using a consensual, political process of committees and

voting methodologies. Voting by committees is not a reliably-valid scientific,

evidence-based process. The DSM was thus not built using uniformly valid

and reliable scientific processes.” Id. “Unlike our definitions of ischemic heart

disease, lymphoma, or AIDS, the DSM diagnoses are based on a consensus

about clusters of clinical symptoms, not any objective laboratory measure. In

the rest of medicine, this would be equivalent to creating diagnostic systems

based on the nature of chest pain or the quality of fever.” Id. at 8 (quoting a

2013 statement by Director of the National Institute of Mental Health

(NIMH)).

      As Dr. McHugh explained in his report, the “unreliability of the DSM

assessment process is important to understanding defects in transgender

treatment methodologies. Patients who have been diagnosed using the DSM

checklist for ‘gender dysphoria’ are diagnosed solely on unverified patient

reports.” This is an inherently unreliable process—contrast the blood tests and

other objective measures applied to diagnose the various types of heart




                                     - 29 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 29 of 37
disease—indicates an ongoing lack of understanding of how to help these

vulnerable, suffering patients. Id. at 8-9.

      Dr. McHugh has extensive experience, throughout his career, with

psychiatric diagnoses (and treatments) that are now widely recognized as

harmful to the patients, such as lobotomies and “Repressed Memory Therapy.”

Id. at 9-10. These failed treatments arose from the same scientifically flawed

diagnostic process as the current effort to treat gender dysphoria. Dr. McHugh

does not dispute that patients diagnosed with gender dysphoria are suffering,

but he has reviewed the scientific literature as it has developed over more than

fifty years. Advocates have not produced any rigorous scientific research that

proves these treatments will increase the wellbeing of patients. Id. at 11-12.

      Some of the Plaintiffs’ objections to Dr. McHugh are the generic ones

described above, such as their argument that only treating physicians who use

the WPATH guidelines—individuals with a clear financial conflict of interest

in this case—are qualified to testify about medical treatment of gender

dysphoria. Doc. 207 at 6-11. The Plaintiffs then proceed to attack opinions

elicited during a deposition that are not within Dr. McHugh’s report. See, e.g.,

id. at 12 (“desistance”), 15-16 (stating, incorrectly, that Dr. McHugh supports

“reparative therapy”). These opinions were not offered to this Court, and they

do not provide a basis for challenging Dr. McHugh’s methodology.




                                     - 30 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 30 of 37
      Plaintiffs also improperly argue that McHugh should be excluded

because his views are inconsistent with the cherry-picked reports they cite, or

because other courts have relied upon the DSM, Doc. 207 at 21-22, or because

he has previously summarized these views in non-scientific journals, id. at 22-

24. Finally, they argue that Dr. McHugh is biased. All of these may be

appropriate arguments to a jury. None of them provide a basis to exclude an

expert witness.

      2.    Dr. Levine

      The Plaintiffs’ objections to Dr. Levine’s testimony are similar to those

made against Dr. McHugh. Plaintiffs disagree with Dr. Levine’s conclusions,

but they do not offer meaningful objections to the scientific methodology or

experience supporting his views.

      Plaintiffs argue that some of Dr. Levine’s opinions support their

arguments, but this goes to the credibility of the witness, not his methodology.

Plaintiffs argue the science underlying the treatment of gender dysphoria is

irrelevant because “this is simply an insurance dispute” and the Court “need

not resolve questions about the etiology of sex.” Doc. 213 at 10. This objection

misstates the foundation of Plaintiffs’ case.          The Plan cannot be

constitutionally required to pay for medical treatments that are not proven to

actually help the patients.    As Dr. Levine will testify, among his other

conclusions, that “[t]here are no long-term, peer-reviewed published, credible,


                                     - 31 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 31 of 37
reliable and valid, research studies documenting or establishing:” (1) the

“percentage of patients receiving gender transition procedures who are helped

by such procedures according to well known criteria;” (2) the “percentage of

patients receiving gender transition procedures who are harmed by such

procedures according to well known criteria; (3) the ”reliability and validity

of assessing gender identity by relying solely upon the expressed desires

of a patient”; or (4) the “mental health outcomes of trans behaving children

who are either affirmed or not affirmed in childhood”. Ex. 1 at 87-88. These

conclusions are based on the current scientific literature, and they provide a

basis for the jury to conclude that the Plan is justified in its decision not to

cover Plaintiffs’ desired medical procedures.

      The remainder of Plaintiffs’ objections speak to impeachment rather

than any basis for exclusion. Doc. 213 at 13-21. The Plaintiffs no doubt

strongly disagree with the conclusions that Dr. Levine has reached, based on

the scientific peer-reviewed literature, but this is a basis on which to confront

his opinions, not to exclude them entirely.

      3.    Dr. Hruz

      Plaintiffs also seek to exclude Dr. Paul Hruz, even though he is the only

expert in this case, on either side, who has specialized in the effect of hormones

on the human body (i.e., endocrinology). Given that hormone suppression and

cross-sex hormones are two treatments that Plaintiffs seek, it is inaccurate to


                                      - 32 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 32 of 37
state that Dr. Hruz lacks relevant scientific knowledge. Doc. 205 at 7-10. He

has specifically studied the treatments that Plaintiffs seek. See, e.g., Ex. 3 at

3-4. The fact that Dr. Hruz has concluded that these hormonal treatments are

unethical does not render him inherently unqualified. Id. at 4-5.

      The bulk of Plaintiffs’ arguments reflect disagreement with Dr. Hruz’s

conclusions and statements about the existing scientific literature. Doc. 205

at 9-12. As one example, Plaintiffs argue Dr. Hruz should be excluded because

he “has no view about what modality of treatment should be provided to

transgender people suffering gender dysphoria.” Id. at 12. But this is one of

Dr. Hruz’s key findings: “[d]espite several highly defective research efforts, the

Gender Transition Industry has failed to prove long term benefits that

outweigh the reported harms, dangers, and serious injuries of ‘gender

affirmation’ interventions.” Ex. 3 at 16. The remainder ask this Court to

exclude his opinions because they differ from that of other courts, various

medical societies, or the Plaintiffs’ experts. These are not a proper basis for

exclusion. Nor are the Plaintiffs’ unsubstantiated claims of bias, which would

again be appropriate for cross-examination, but not this Court’s analysis

pursuant to Daubert.




                                      - 33 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 33 of 37
      4.     Dr. Lappert

      Plaintiffs’ attacks on Dr. Lappert suffer the same flaws.       Dr. Lappert

has performed every procedure identified by Plaintiffs, but he has not done so

for the purpose of treating gender dysphoria. Plaintiffs devote significant

attention to Dr. Lappert’s decision to retire from the practice of plastic surgery,

and the fact that his decision not to renew his board certification was not

accurately reflected in his expert report, Doc. 209 at 8-9, but Dr. Lappert did

not conceal this accidental error, nor does this provide a basis to exclude his

testimony.   The remainder of the objections reflect the same attempts by

Plaintiffs to ask this Court to defer to professional organizations or to other

courts on the facts to be presented in this case. Daubert rejected this approach,

and the Plaintiffs cannot renew it here. Plaintiffs have presented no valid

basis to exclude Dr. Lappert’s testimony.

      5.     Dr. Robie

      Plaintiffs’ motion to exclude Dr. Peter Robie is similarly flawed. Dr.

Robie is an accomplished primary care physician in Winston-Salem and the

Plan Defendants have been clear about his testimony. He has not prepared an

expert report because he will testify about the information he provided to the

Plan’s board during its discussions. The expert views he has provided beyond

this information deal with the diagnostic process followed by primary care

physicians and the importance of accurate information about the patient’s


                                      - 34 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 34 of 37
biological sex during that process. These views are well within his forty-seven

years of medical care and his education.

VI.    Conclusion

       Accordingly, the State Health Plan Defendants respectfully request that

this Court deny Plaintiffs’ motions to exclude expert testimony.



       Respectfully submitted, this the 23rd day of February, 2022.



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                                     - 35 -


      Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 35 of 37
                           CERTIFICATE OF SERVICE

      I hereby certify that on the 23rd day of February, 2022, the foregoing

was filed electronically with the Clerk of Court using the CM/ECF electronic

filing system, which will send notification of such filing to all registered users.



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                                       - 36 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 36 of 37
                         CERTIFICATE OF WORD COUNT

      Pursuant to L.R. 7.3(d)(1), the undersigned certifies that the State Health

Plan Defendants’ Response in Opposition to Plaintiffs’ Motions to Exclude

Expert Testimony (Docs. 202-09, 212-13) complies with the Court’s word limit

as calculated using the word count feature of the word processing software.

Specifically, this singular Response contains less than 6,250 words, including

the body of the Response and headings, but not including the caption,

signature lines, this certificate, or the certificate of service.

      This the 23rd day of February, 2022.



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                                        - 37 -


    Case 1:19-cv-00272-LCB-LPA Document 215 Filed 02/23/22 Page 37 of 37
